    Case 4:23-cv-03729 Document 41-5 Filed on 03/18/24 in TXSD Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION



Michael D. Van Deelen,                      )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )        Case No. 4:23-cv-3729
                                            )
David R. Jones, Elizabeth Carol Freeman,    )
Jackson Walker, LLP, Kirkland & Ellis, LLP, )
and Kirkland & Ellis International, LLP,    )
                                            )
       Defendant(s).                        )
                                            )

                                             ORDER

       Pending before the Court is Defendants Kirkland & Ellis LLP and Kirkland & Ellis

International LLP’s (collectively, “Kirkland”) Motion for Sanctions Pursuant to Rule 11

(“Motion”). Having considered the Motion, response, reply, applicable law and argument of

counsel, the Court is of the opinion that the Motion should be GRANTED. The Court, therefore:

       FINDS that Plaintiff Michael Van Deelen’s factual allegations against Kirkland are

frivolous; Plaintiff’s RICO claims brought against Kirkland are factually and legally frivolous;

and that all of Plaintiff’s claims were brought by Plaintiff and Plaintiff’s counsel against Kirkland

for an improper purpose and with the intent to harass Kirkland;

       FINDS that Plaintiff Michael Van Deelen has filed excessive frivolous pleadings and

motions related to the bankruptcy of McDermott International, Inc. and otherwise engaged in

conduct over the course of the bankruptcy proceeding and related proceedings as detailed in the

Motion that is vexatious, abusive of judicial process, harassing, and malicious;
      Case 4:23-cv-03729 Document 41-5 Filed on 03/18/24 in TXSD Page 2 of 2




        FINDS that relief other than monetary sanctions will not suffice to prevent Plaintiff and

Plaintiff’s counsel from continuing to pursue frivolous, vexatious and harassing litigation against

Kirkland, and that the scope of the relief ordered herein is narrowly prescribed to fit the abuse that

this Court seeks to prevent;

        ORDERS that Plaintiff and Plaintiff’s counsel of record shall pay Kirkland its attorneys’

fees and costs incurred in defending this lawsuit, including all attorneys’ fees and costs associated

with the Motion and Kirkland’s Rule 12(b)(6) Motion to Dismiss in an amount to be established;

and

        ORDERS that Plaintiff and Plaintiff’s counsel of record shall pay a penalty into the Court

in an amount to be determined by the Court.


SIGNED and ENTERED this ____ day of ________________, 2024.


                                               __________________________________
                                               ALIA MOSES
                                               CHIEF UNITED STATES DISTRICT JUDGE




                                                  2
